JOSEPHINE B. CONROY AND MANCHESTER SAVINGS &amp; TRUST CO., EXECUTORS, ESTATE OF WILLIAM E. CONROY, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Conroy v. CommissionerDocket Nos. 26242, 32221.United States Board of Tax Appeals20 B.T.A. 237; 1930 BTA LEXIS 2174; July 15, 1930, Promulgated *2174 Charles W. Dahlinger,20 B.T.A. 176, followed.  H. V. Blaxter, Esq., for the petitioners.  Bruce A. Low, Esq., for the respondent.  MURDOCK *237  The Commissioner determined deficiencies in the income taxes of the decedent as follows: Docket No.YearAmount262421922$7,524.1819235,918.5319246,338.693222119252,604.29The petitioners allege that the Commissioner erred: (1) in refusing to allow a credit of $126.34, the 2 per cent normal tax paid at the source on interest in the amount of $6,317 received in 1924; (2) in refusing to tax a profit of $11,333.33 for each of the years 1922, 1923, 1924, and 1925 realized from the sale of certain stock, under the capital-gain provisions of the Revenue Acts of 1921 and 1924.  These proceedings were consolidated.  *238  FINDINGS OF FACT.  The petitioners are the executors of the estate of William E. Conroy, who died December 8, 1928, a resident of Pittsburgh, Pa.This case was heard with the case of Charles W. Dahlinger, Docket No. 33721, reported at *2175 , and the findings of fact in that case set forth under paragraphs 4 to 13, inclusive, are incorporated herein by reference.  The decedent had owned his Columbia Plate Glass Co. stock for more than two years prior to 1920.  The decedent reported a profit of $11,333.33 for each of the years 1922, 1923, 1924, and 1925 from the sale of his Columbia Plate Glass Co. stock, on which he computed a tax at the rate of 12 1/2 per cent.  The Commissioner included this item of $11,333.33 with other income for each year, computed the tax on the income at normal and surtax rates and thereby determined the deficiencies.  The sale of the decedent's stock in the Columbia Plate Glass Co. was not consummated after December 31, 1921.  OPINION.  MURDOCK: The respondent has admitted error in disallowing the credit of $126.34, the 2 per cent normal tax paid at the source on interest received by the decedent in 1924.  The respondent's method of computing the tax on the annual gain from the sale of the decedent's stock in the Columbia Plate Glass Co. at the normal and surtax rates is approved for the reasons more fully set forth in the companion case to this one, *2176 Judgment will be entered under Rule 50.SEAWELL dissents.  